                           Fourth Court of Appeals
                                  San Antonio, Texas
                                       August 14, 2024

                                     No. 04-23-00263-CR

                         EX PARTE Elwin Roberto ORTIZ LAGOS

                        From the County Court, Kinney County, Texas
                                  Trial Court No. 11126CR
                          Honorable Dennis Powell, Judge Presiding

                                           ORDER

       In accordance with this court’s opinion of this date, the court DISMISSES this appeal for
want of jurisdiction.

       It is so ORDERED on August 14, 2024.



                                               _____________________________
                                               Lori I. Valenzuela, Justice

       IN WITNESS WHEREOF, I have hereunto set my hand and affixed the seal of the said
court on this 14th day of August, 2024.

                                               _____________________________
                                               Luz Estrada, Chief Deputy Clerk
